                     IN THE UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO

  In re:

  FRED DALE VAN WINKLE,

           Debtor.                                              No. 13-11743-j7

                            MOTION TO AVOID JUDICIAL LIEN

           Debtor, Fred Dale Van Winkle, through his undersigned attorney, files this

  Motion to Avoid Judicial Lien of Belleview Valley Land Co., John Williams and Ellen B.

  Williams (hereinafter referred to as "Creditors) based on the following grounds:

           1.     Debtor commended this case on May 21, 2013 by filing a voluntary

  petition for relief under Chapter 7 of Title 11 of the United States Bankruptcy Code.

           2.     Debtor scheduled the Creditor in their bankruptcy schedules as a secured

  creditor in Schedule D.

           3.     The Debtor also scheduled certain real estate located at 702 White

  Mountain, #11, Ruidoso, NM in Schedule A and has exempted his equity in the property

  on Schedule C pursuant to the New Mexico homestead exemption.

           4.     The deadline to object to the Debtor’s exemptions has expired with no

  objections being filed.

           5.     The judicial lien (Transcript of Judgment) filed on August 17, 2010 and

  attached hereto as Exhibit "A" impairs the Debtor’s homestead exemption.

           6.     This Court has jurisdiction over this motion as it is filed pursuant to 11

  U.S.C. Section 522(f)(1)(A) to avoid and cancel a judicial lien held by creditor.

           WHEREFORE, Debtor respectfully requests that an Order be entered which

  would avoid or cancel the judicial lien attached hereto as Exhibit "A" and for such

  additional or alternative relief as the Court deems necessary.
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                                                       Submitted,



                                                       Electronically filed
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  I CERTIFY that the foregoing was electronically filed with the Court via the CM/ECF
  system. All attorneys and parties identified with the Court for electronic service on the
  record in this case were served by electronic service in accordance with the CM/ECF
  system on this 23rd day of September 2013.

  Electronically submitted
  R. "Trey" Arvizu, III




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